Case 2:21-cv-09306-MWC-SK       Document 108 Filed 11/27/24          Page 1 of 32 Page ID
                                      #:1797



  1   Lewis R. Landau (CA Bar No. 143391)
      Attorney-at-Law
  2   22287 Mulholland Hwy., # 318
      Calabasas, California 91302
  3   Voice & Fax: (888) 822-4340
      Email: Lew@Landaunet.com
  4
      Attorney for Plaintiff,
  5   54 Dyer LP
  6
                            UNITED STATES DISTRICT COURT
  7
                          CENTRAL DISTRICT OF CALIFORNIA
  8

  9
      54 Dyer LP, a Colorado limited               Case No.: 2:21-cv-09306-MWC(SKx)
 10   partnership,
 11                       Plaintiff,               QUARTERLY REPORT OF
                                                   RECEIVER AND DECLARATION
 12   vs.                                          OF J. MICHAEL ISSA IN
                                                   SUPPORT THEREOF; EXHIBITS IN
 13   Adam Ambruso, individually;                  SUPPORT
 14
      Adam Ambruso, as Trustee of the Adam
      Ambruso Revocable Living Trust;
 15   Odin Group, LLC;
      And Does 1-10                        Date: No Hearing Set
 16                                        Time: No Hearing Set
                                           Honorable Michelle Williams Court
 17                                        First Street Courthouse
                       Defendants.         350 W. 1st Street, Crtrm 6A, 6th Fl.
 18                                        Los Angeles, California 90012
 19
            Pursuant to the Court’s August 22, 2024 scheduling notice, the receiver’s
 20
      additional quarterly report is attached hereto.
 21
      Dated: November 27, 2024                          Lewis R. Landau
 22
                                                        Attorney at Law
 23

 24
                                                        By:s/ Lewis R. Landau
 25                                                     Lewis R. Landau
                                                        Lew@Landaunet.com
 26
                                                        Attorney for Plaintiff
 27

 28
Case 2:21-cv-09306-MWC-SK    Document 108 Filed 11/27/24      Page 2 of 32 Page ID
                                   #:1798



    1 J. MICHAEL ISSA, Receiver
      missa@brileyfin.com
    2 GlassRatner Advisory &
    3 Capital Group, LLC, d/b/a
      B. Riley Advisory Services
    4 19800 MacArthur, Suite 820
    5 Irvine, CA 92612
      Telephone: (949) 407-6620
    6 Facsimile: (949) 279-4244
    7
    8
                    IN THE UNITED STATES DISTRICT COURT
    9             FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11
      54 DYER LP, a Colorado Limited            Case No.: 2:21-CV-09306-MWC-SK
   12 Partnership,
   13
                   Plaintiff,
   14       v.                                  QUARTERLY REPORT OF
                                                RECEIVER AND
   15                                           DECLARATION OF J. MICHAEL
      ADAM AMBRUSO, Individually;
   16 ADAM AMBRUSO, as Trustee of the           ISSA IN SUPPORT THEREOF ;
      ADAM AMBRUSO REVOCABLE                    EXHIBITS
   17 LIVING TRUST; ODIN GROUP, LLC;
                                                Receiver Appointed: March 31, 2022
   18 and DOES 1-10,
                                                Defendants’ Default Entered: April 8,
   19             Defendants.                   2022
   20
   21
   22
   23
   24
   25
   26
   27
   28
          QUARTERLY REPORT OF RECEIVER AND DECLARATION OF J. MICHAEL ISSA IN SUPPORT
                                         THEREOF
Case 2:21-cv-09306-MWC-SK       Document 108 Filed 11/27/24        Page 3 of 32 Page ID
                                      #:1799



    1         I, J. Michael Issa, acting on behalf of the receivership estate in my capacity as
    2 Receiver under the Court’s March 31, 2022 Order Appointing a Permanent Receiver
    3 (the "Receivership Order"), have personal knowledge of the matters set forth below
    4 and, except as otherwise stated, can and would testify competently to each fact
    5 herein.
    6         1.    I submit this Declaration in support of the Receiver’s Quarterly Report.
    7         2.    54 Dyer commenced this action in November 2021, alleging that
    8 Defendant Adam Ambruso (individually, and as Trustee of the Adam Ambruso
    9 Revocable Living Trust) and Odin Group, LLC (collectively, “Defendants”)
   10 fraudulently induced 54 Dyer to provide a series of loans totaling millions of dollars
   11 for the construction of a luxury home in the Hollywood Hills, fraudulently
   12 comingled the loan advances with his personal accounts, grossly mismanaged the
   13 construction project, and unlawfully transferred title to the Receivership Property
   14 from Ambruso to his entity Odin Group LLC in an effort to fraudulently protect the
   15 asset from creditors. (See, e.g., ECF 18, 18-2, 54.) Until the Receiver took
   16 possession of the Receivership Property, Defendant Ambruso had been living rent-
   17 free in the Property and later secretly rented it out and pocketed approximately
   18 $400,000 as a result of his unauthorized short-term leases of the Receivership
   19 Property, despite his representations to the Court that the Property was his personal
   20 residence and he was living there with his family.
   21         3.    By Order dated March 31, 2022 (ECF 56), I was appointed as the
   22 Receiver and exclusive administrator of the Receivership Property. The Receiver’s
   23 oath and bond have been filed with the Court (ECF 57).
   24         4.    On April 8, 2022, the clerk of court entered a default judgment (ECF
   25 59) against Defendants for their failure to respond to Plaintiff’s Complaint. On
   26 August 22, this Court issued a Minute Order (ECF 75) denying Defendants’ Motion
   27 to Set Aside the Default (which was filed nearly three months after the clerk entered
   28
                                              1
           QUARTERLY REPORT OF RECEIVER AND DECLARATION OF J. MICHAEL ISSA IN SUPPORT
                                          THEREOF
Case 2:21-cv-09306-MWC-SK      Document 108 Filed 11/27/24       Page 4 of 32 Page ID
                                     #:1800



    1 the default), finding that Defendants offered no explanation for the failure to respond
    2 to the Complaint.
    3         5.    Under my authority as Receiver, I took over possession of the
    4 Receivership Property located at 2538 Carman Crest Drive. Los Angeles, CA 90068
    5 in April of 2022. Since my appointment in this case, I have engaged in diligent
    6 efforts to take possession of and secure the Receivership Property, collect the
    7 proceeds from Defendants’ rentals of the Property, and obtain and analyze
    8 Defendants’ financial records.
    9         6.    Such efforts were delayed by Defendants’ ongoing failure to comply
   10 with the requirements set by this Court in its Order appointing the Receiver. In
   11 violation of Paragraphs 4 and 5 of the Receivership Order in this case (ECF 56),
   12 Defendants failed to immediately turn over all keys and other access information
   13 and passwords to the Receiver and failed to immediately turn over possession of the
   14 Property. Although Defendants eventually provided certain access and security
   15 codes, they did not provide keys to the Property or turn over possession of the
   16 Property to the Receiver. On April 6, 2022, at 10:30 am, I went to the Receivership
   17 Property with a locksmith and a security officer to obtain access to and control of
   18 the Receivership Property pursuant to the Receivership Order. At that time, my
   19 understanding based on the representations to the Court by Defendants was that Mr.
   20 Ambruso and his family resided at the Receivership Property. However, a man
   21 named Anthony Farrer was residing at the Receivership Property as of April 6, 2022.
   22 During this initial visit, I obtained various details of the undisclosed tenancy,
   23 including the remaining term, rental payment, and security deposit. It turned out that
   24 Mr. Farrer and Mr. Ambruso had executed a lease on March 14, 2022 for the dates
   25 of March 14 to May 3, 2022, and Mr. Farrer pre-paid Defendant Odin Group LLC a
   26 total of $103,116.33 by wire transfer, including the security deposit. I subsequently
   27 learned through review of the Multiple Listing Service records for the Receivership
   28
                                              2
           QUARTERLY REPORT OF RECEIVER AND DECLARATION OF J. MICHAEL ISSA IN SUPPORT
                                          THEREOF
Case 2:21-cv-09306-MWC-SK      Document 108 Filed 11/27/24       Page 5 of 32 Page ID
                                     #:1801



    1 Property that in April 2021, defendant Odin Group LLC had entered into a previous
    2 leasing agreement with Ultimate Host LLC to rent the Receivership Property for
    3 $45,000 per month from April 15 to October 31, 2021, for a total of $315,000. In
    4 express violation of the Court’s Receivership Order, Defendants have never turned
    5 over to the Receiver, and have thereby converted, the rental proceeds under these
    6 leases in violation of Paragraphs 3 and 9 of the Receivership Order.
    7         7.    In addition, Defendants were required under Paragraphs 5 and 9 of the
    8 Receivership Order to produce all bank records pertaining to the Property.
    9 Defendants’ production of bank records was partial, sporadic, and incomplete, and
   10 was made only after repeated requests and follow-ups by Plaintiff 54 Dyer’s counsel.
   11 The financial records that the Receiver has received from Defendants to date, which
   12 are still incomplete, reflect that Defendants Ambruso and Odin Group LLC have
   13 comingled the funds loaned to them by 54 Dyer LP for the construction of the
   14 Receivership Property. The records reflect, for example, that the funds loaned by 54
   15 Dyer to Ambruso have been (1) commingled with Ambruso’s personal income and
   16 expenses; (2) transferred back and forth between Ambruso and Odin Group LLC;
   17 and (3) used to pay Ambruso’s personal expenses. .
   18         8.    Nevertheless, the Receiver took possession of the Receivership
   19 Property, repaired and cleaned the Property, and then interviewed and retained a
   20 realtor (Altman Brothers with Douglas Elliman Real Estate), actively marketed the
   21 Property for sale, and entered into a sales contract to sell the Receivership Property.
   22 The Receiver obtained this Court’s approval to sell the property under that contract
   23 (ECF 76, 83, 85). However, as detailed in the Receiver’s Semi-Annual Report filed
   24 on November 6, 2023 (ECF 90), the buyer later asked for unreasonable concessions
   25 and then cancelled the escrow for that sale.
   26          9.    In connection with his activities, the Receiver has regularly updated
   27 Plaintiff 54 Dyer (the beneficiary of the receivership estate) on at least a monthly
   28
                                              3
           QUARTERLY REPORT OF RECEIVER AND DECLARATION OF J. MICHAEL ISSA IN SUPPORT
                                          THEREOF
Case 2:21-cv-09306-MWC-SK         Document 108 Filed 11/27/24     Page 6 of 32 Page ID
                                        #:1802



    1 basis and has provided a Status Report (ECF 66), two subsequent declarations (ECF
    2 77-2, 79-1), a Semi-Annual Report (ECF 90), a February 22, 2024 Quarterly Report
    3 (ECF 100), and a July 25, 2024 Quarterly Report (ECF 101) detailing the Receiver’s
    4 activities for the Court.
    5         3.    In light of the buyer’s cancellation of the escrow for the sale approved
    6 by the Court, the Receiver, with 54 Dyer’s agreement, determined that leasing the
    7 Receivership Property was the best course of action in light of the soft real estate
    8 market at the time. On May 5, 2023, on the advice of Mr. Gene Bush, the listing
    9 agent of Coldwell Banker, the sales listing for the Receivership Property was
   10 removed from the Multiple Listing Service and the Property was listed for lease. On
   11 June 2, 2023, the Receiver signed a short-term lease for the Property at $26,250 per
   12 month, from June 6, 2023 through February 5, 2024. The tenant timely paid rent to
   13 the Receiver under that lease through the expiration of the lease.
   14         4.    In my previous Semi-Annual Report and February 22, 2024 Quarterly
   15 Report, I noted that the tenant had previously indicated that they would like to extend
   16 the lease through July 2024. However, the Tenant later changed their mind and
   17 moved out on or around February 5, 2024. The Property is therefore no longer
   18 generating income.
   19         5.    The Receiver retained Gene Bush of Coldwell Banker as realtor to put
   20 the Property back on the market for sale during the 2024 Spring “selling season.”
   21 Mr. Bush and the Receiver determined that the Property needed some minor repairs
   22 and cleaning, which were timely accomplished. As of February 20, 2024, the
   23 Property is listed on the Multiple Listing Service.
   24         6.    The Receiver has regularly kept 54 Dyer informed of all of its activities
   25 with respect to the Receivership Property, including providing regular invoices,
   26 banking summaries, and accountings of the income and expenses for the
   27 Receivership Property. The Receiver maintains a trust account at East West Bank.
   28
                                              4
           QUARTERLY REPORT OF RECEIVER AND DECLARATION OF J. MICHAEL ISSA IN SUPPORT
                                          THEREOF
Case 2:21-cv-09306-MWC-SK      Document 108 Filed 11/27/24       Page 7 of 32 Page ID
                                     #:1803



    1 Rent from the short-term lease of the Property was paid via direct deposit to the bank
    2 account. Expenses are paid from the trust account as well. Attached as Exhibit A is
    3 a true and correct copy of the banking summary prepared by the Receiver from June,
    4 2023 through October 31, 2024. The Receiver currently prepares a monthly financial
    5 and operations report for the lender, 54 Dyer LP. The report is reviewed with 54
    6 Dyer and questions are addressed during a monthly zoom meeting. Prior banking
    7 summaries, invoices, and reports to the lender (54 Dyer) were attached to my
    8 previous reports to the Court, including my November 2023 Semi-Annual Report
    9 (ECF 90), February 2024 Quarterly Report (ECF 100) and July 2024 Quarterly
   10 Report (ECF 101)
   11         7.    Under paragraph 12 of the Receivership Order, the Receiver is entitled
   12 to charge an hourly rate of $575 for my services. The Receiver is also entitled to use
   13 the services of personnel employed by GlassRatner Advisory & Capital Group, LLC,
   14 d/b/a/ B.Riley Advisory Services (“B.Riley”) to assist me in the discharge of my
   15 duties at their standard hourly rates. The Receiver is further entitled to
   16 reimbursement for all expenses incurred in administering the receivership estate.
   17         8.     From June 1, 2024 to August 31, 2024, the Receiver has incurred a
   18 total of $8,226.0000 in fees for managing, repairing and maintaining the
   19 Receivership Property. A true and correct copy of a summary of the Receiver’s
   20 invoices for June, July, and August, 2024, which includes all of the expenses and
   21 costs advanced by the Receiver, is attached as Exhibit B. These invoices were
   22 provided in a timely manner to the lender, 54 Dyer.
   23         9.    In my opinion, based on my experience in similar receivership matters,
   24 and based upon my knowledge of other receivership cases, the charges set forth
   25 above are reasonable and necessary expenses of administering the assets of the
   26 receivership estate.
   27         10.   The receivership estate has only generated income through the former
   28
                                              5
           QUARTERLY REPORT OF RECEIVER AND DECLARATION OF J. MICHAEL ISSA IN SUPPORT
                                          THEREOF
Case 2:21-cv-09306-MWC-SK   Document 108 Filed 11/27/24   Page 8 of 32 Page ID
                                  #:1804
Case 2:21-cv-09306-MWC-SK   Document 108 Filed 11/27/24   Page 9 of 32 Page ID
                                  #:1805




                            EXHIBIT A


                                                                        007
      Odin Group
      Bank Activity
      East West Bank


                                                                                                                                           Running
         Date      Index             Check #                                Party                             Purpose        Amount        Balance
        6/1/2023      1.00   Fees              East West Bank                                            Bank Fee          $     (14.00) $     (14.00)
        6/1/2023      2.00   Fee Reversal      East West Bank                                            Bank Fee          $      14.00 $          -
        6/7/2023      3.00   Wire Fee          East West Bank                                            Bank Fee          $     (10.00) $      (10.00)
        6/7/2023      4.00   Wire In           Temporary Housing Inc.                                    Rental Revenue    $ 35,525.00 $ 35,515.00
       6/20/2023      5.00   3021              Juan Orellana                                             Gardner           $ (2,000.00) $ 33,515.00
       6/20/2023      6.00   3030              Juan Orellana                                             Gardner           $ (1,800.00) $ 31,715.00
       6/26/2023      7.00   Wire              RU Insurance Co                                           Insurance         $    (926.00) $ 30,789.00
       6/26/2023      8.00   3022              Assessment Counseling Services                            Tax Consulting    $ (1,000.00) $ 29,789.00
       6/27/2023      9.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 29,749.00
                                                                                                                                                                       Case 2:21-cv-09306-MWC-SK




       6/27/2023     10.00   Wire              Glassratner Advisory & Capital Grou                       Receiver Fees     $ (25,000.00) $   4,749.00
       6/28/2023     11.00   Wire In           Temporary Housing Inc.                                    Rental Revenue    $ 26,250.00 $ 30,999.00
        7/3/2023     12.00   3024              Guardian Pool Fence                                       Pool Fence        $ (2,068.00) $ 28,931.00
       7/15/2023     13.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 28,891.00
       7/15/2023     14.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 28,851.00
       7/15/2023     15.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 28,811.00
       7/15/2023     16.00   Wire              Pacific Vertical Gardens                                  Plant Wall        $    (325.00) $ 28,486.00
       7/15/2023     17.00   Wire              Brando Juris                                              Pool Fence        $    (600.00) $ 27,886.00
       7/15/2023     18.00   Wire              Huge Blinds                                               Window Blinds     $ (2,259.55) $ 25,626.45
                                                                                                                                                                 #:1806




       7/18/2023     19.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 25,586.45
       7/18/2023     20.00   Wire              Hung Up Blinds                                            Window Blinds     $ (1,600.00) $ 23,986.45
       7/21/2023     21.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 23,946.45
       7/21/2023     22.00   Wire              Futuristic Media                                          Home Automation   $ (2,541.41) $ 21,405.04
       7/26/2023     23.00   3023              Hung Up Blinds                                            Blinds            $ (2,000.00) $ 19,405.04
       7/28/2023     24.00   Wire In           Temporary Housing Inc.                                    Rental Revenue    $ 26,250.00 $ 45,655.04
       8/25/2023     25.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 45,615.04
                                                                                                                                                          Document 108 Filed 11/27/24




       8/25/2023     26.00   Wire              Glassratner Advisory & Capital Grou                       Receiver Fees     $ (25,000.00) $ 20,615.04
       8/30/2023     27.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 20,575.04
       8/30/2023     28.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 20,535.04
       8/30/2023     29.00   Wire              Brando Juris- Reimbursement Seven Months at 450 a month   Gardner           $ (3,150.00) $ 17,385.04
       8/30/2023     30.00   Wire              DMC Plumbing                                              Plumber           $ (3,150.00) $ 14,235.04
       8/30/2023     31.00   Wire In           Temporary Housing Inc.                                    Rental Revenue    $ 26,250.00 $ 40,485.04
       9/13/2023     32.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 40,445.04
       9/13/2023     33.00   Wire              Brando Juris- Reimbursement                               Cable             $    (238.00) $ 40,207.04
       9/18/2023     34.00   Service Charge    East West Bank                                            Bank Fee          $     (40.00) $ 40,167.04
       9/18/2023     35.00   Wire              LA Aquatic                                                Pool Repairs      $ (2,650.00) $ 37,517.04
       9/28/2023     36.00   Wire In           Temporary Housing Inc.                                    Rental Revenue    $ 26,250.00 $ 63,767.04
       9/29/2023     37.00   Service Charge    East West Bank                                            Bank Fee          $     (14.00) $ 63,753.04




008
       9/29/2023     38.00   Service Charge    East West Bank                                            Bank Fee          $     225.00 $ 63,978.04
                                                                                                                                                                       Page 10 of 32 Page ID




       9/29/2023     39.00   Wire              Glassratner Advisory & Capital Grou                       Receiver Fees     $ (12,317.79) $ 51,660.25
       10/4/2023     40.00   Service Charge    BB PREMIER MONTHLY MAINTENANCE                            Bank Fee          $     (28.00) $ 51,632.25
                                                                          1 of 5
      Odin Group
      Bank Activity
      East West Bank


                                                                                                                                          Running
         Date      Index                Check #                               Party                   Purpose           Amount            Balance
       10/4/2023       41.00   Service Charge        BB PREMIER WIRE MODULE                       Bank Fee             $      (35.00) $   51,597.25
      10/11/2023       42.00   Wire                  Brando Juris Correggiari                                          $ (5,231.14) $
                                                                                                  Alarm Installation & Monitoring         46,366.11
      10/11/2023       43.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   46,352.11
      10/13/2023       44.00   Wire                  101223285,941,,SO CAL GAS PAID SCGC 231012   Utilities            $       (1.00) $   46,351.11
      10/13/2023       45.00   Wire                  101223285,941,,SO CAL GAS PAID SCGC 231012   Utilities            $ (4,204.07) $     42,147.04
      10/17/2023       46.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   42,133.04
      10/17/2023       47.00   Wire                  ASSESSMENT COUNSELLING SERVICES              Tax Consulting       $    (358.75) $    41,774.29
      10/25/2023       48.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   41,760.29
      10/25/2023       49.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   41,746.29
                                                                                                                                                                   Case 2:21-cv-09306-MWC-SK




      10/25/2023       50.00   Wire                  Futuristic Media                             Home Automation $ (1,325.99) $          40,420.30
      10/25/2023       51.00   Wire                  LA Aquatic Services                          Pool Repairs         $    (290.00) $    40,130.30
      10/27/2023       52.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   40,116.30
      10/27/2023       53.00   Wire                  DMC Plumbing Contractor                      Plumber              $    (262.75) $    39,853.55
      10/30/2023       54.00   Wire In               Temporary Housing Inc.                       Rental Revenue       $ 26,250.00 $      66,103.55
       11/3/2023       55.00   Service Charge        BB PREMIER MONTHLY MAINTENANCE               Bank Fee             $      (28.00) $   66,075.55
       11/3/2023       56.00   Service Charge        BB PREMIER WIRE MODULE                       Bank Fee             $      (35.00) $   66,040.55
       11/6/2023       57.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   66,026.55
       11/6/2023       58.00   Wire                  Brando                                       Cable                $    (294.87) $    65,731.68
                                                                                                                                                             #:1807




      11/17/2023       59.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   65,717.68
      11/17/2023       60.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   65,703.68
      11/17/2023       61.00   Wire                  LA Aquatic                                   Pool Repairs         $    (650.00) $    65,053.68
      11/17/2023       62.00   Wire                  Glassratner Advisory & Capital Grou          Receiver Fees        $ (20,787.19) $    44,266.49
      11/29/2023       63.00   Wire In               Temporary Housing Inc.                       Rental Revenue       $ 26,250.00 $      70,516.49
       12/1/2023       64.00   Preauthorized Debit   Armands Discount                             Fireplace Repair     $ (2,822.88) $     67,693.61
       12/5/2023       65.00   Service Charge        BB PREMIER MONTHLY MAINTENANCE               Bank Fee             $      (28.00) $   67,665.61
                                                                                                                                                      Document 108 Filed 11/27/24




       12/5/2023       66.00   Service Charge        BB PREMIER WIRE MODULE                       Bank Fee             $      (35.00) $   67,630.61
       12/6/2023       67.00   Preauthorized Debit   LA County Tax Collector                      Property Tax         $ (17,868.56) $    49,762.05
      12/11/2023       68.00   Preauthorized Debit   So Cal Gas                                   Utilities            $    (539.03) $    49,223.02
      12/19/2023       69.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   49,209.02
      12/19/2023       70.00   Wire                  LA Aquatic                                   Pool Repairs         $    (600.00) $    48,609.02
      12/27/2023       71.00   Wire In               Temporary Housing Inc.                       Rental Revenue       $ 26,250.00 $      74,859.02
      12/29/2023       72.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   74,845.02
      12/29/2023       73.00   Wire                  Brando                                       Cable                $    (280.00) $    74,565.02
        1/3/2024       74.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   74,551.02
        1/3/2024       75.00   Service Charge        OUTGOING WIRE                                Bank Fee             $      (14.00) $   74,537.02
        1/3/2024       76.00   Preauthorized Debit   Bamboo Insurance                             Insurance            $    (335.79) $    74,201.23




009
        1/3/2024       77.00   Wire                  LA Aquatic                                   Pool Repairs         $    (300.00) $    73,901.23
        1/3/2024       78.00   Wire                  Glassratner Advisory & Capital Grou          Receiver Fees        $ (6,514.62) $     67,386.61
                                                                                                                                                                   Page 11 of 32 Page ID




        1/4/2024       79.00   Service Charge        BB PREMIER MONTHLY MAINTENANCE               Bank Fee             $      (28.00) $   67,358.61

                                                                             2 of 5
      Odin Group
      Bank Activity
      East West Bank


                                                                                                                                         Running
         Date       Index               Check #                                     Party            Purpose           Amount            Balance
         1/4/2024       80.00   Service Charge             BB PREMIER WIRE MODULE                Bank Fee             $      (35.00) $   67,323.61
        1/19/2024       81.00   3322                       Guardian Pool Fence                   Pool Fence           $    (450.00) $    66,873.61
        1/29/2024       82.00   Wire In                    Temporary Housing Inc.                Rental Revenue       $ 4,375.00 $       71,248.61
         2/1/2024       83.00   Service Charge             OUTGOING WIRE                         Bank Fee             $      (14.00) $   71,234.61
         2/1/2024       84.00   Wire                       Glassratner Advisory & Capital Grou   Receiver Fees        $ (2,172.12) $     69,062.49
         2/2/2024       85.00   Service Charge             BB PREMIER MONTHLY MAINTENANCE        Bank Fee             $      (28.00) $   69,034.49
         2/5/2024       86.00   Service Charge             OUTGOING WIRE                         Bank Fee             $      (14.00) $   69,020.49
         2/5/2024       87.00   Preauthorized Debit        Bamboo Insurance                      Insurance            $    (335.79) $    68,684.70
         2/5/2024       88.00   Wire                       LA Aquatic                            Pool Repairs         $    (480.00) $    68,204.70
                                                                                                                                                                  Case 2:21-cv-09306-MWC-SK




         2/5/2024       89.00   Preauthorized Debit        So Cal Gas                            Utilities            $    (800.53) $    67,404.17
         2/8/2024       90.00   Service Charge             OUTGOING WIRE                         Bank Fee             $      (14.00) $   67,390.17
         2/8/2024       91.00   Wire                       Brando                                Rental Revenue       $ (26,250.00) $    41,140.17
         2/9/2024       92.00   Preauthorized Debit        Post Alarm Systems                                         $    (345.00) $
                                                                                                 Alarm Installation & Monitoring         40,795.17
        2/12/2024       93.00   Preauthorized Debit        LADWP                                 Utilities            $ (3,768.91) $     37,026.26
        2/24/2024       94.00   Service Charge             BB PREMIER WIRE MODULE                Bank Fee             $      (35.00) $   36,991.26
        2/26/2024       95.00   Preauthorized Debit        Spectrum                              Cable                $    (294.87) $    36,696.39
         3/4/2024       96.00   Service Charge             BB PREMIER MONTHLY MAINTENANCE        Bank Fee             $      (28.00) $   36,668.39
         3/4/2024       97.00   Service Charge             BB PREMIER WIRE MODULE                Bank Fee             $      (35.00) $   36,633.39
                                                                                                                                                            #:1808




         3/5/2024       98.00   Preauthorized Debit        Bamboo Insurance                      Insurance            $    (335.79) $    36,297.60
        3/19/2024       99.00   Wire                       LA Aquatic                            Pool Repairs         $    (400.00) $    35,897.60
        3/19/2024      100.00   Service Charge             OUTGOING WIRE                         Bank Fee             $      (14.00) $   35,883.60
        3/20/2024      101.00   Preauthorized Debit        Spectrum                              Cable                $    (149.97) $    35,733.63
        3/25/2024      102.00   3324                       Bond Services                         Appraisal            $    (100.00) $    35,633.63
        3/25/2024      103.00   3325                       Juan Orellana                         Gardner              $    (900.00) $    34,733.63
         3/4/2024      104.00   3329                       Juan Orellana                         Gardner              $    (625.00) $    34,108.63
                                                                                                                                                     Document 108 Filed 11/27/24




      04/02/2024       105.00   Misc. Fees                 BB PREMIER WIRE MODULE                Bank Fee             $      (35.00) $   34,073.63
      04/02/2024       106.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE        Bank Fee             $      (28.00) $   34,045.63
      04/04/2024       107.00                              Bamboo Insurance
                                Pre-authorized ACH Debit 00000000000                             Insurance            $    (196.69) $    33,848.94
      04/12/2024       108.00                              LADWP
                                Pre-authorized ACH Debit 00000000000                             Utilities            $ (2,982.89) $     30,866.05
      04/18/2024       109.00   Outgoing Money Transfer LA Aquatic Services                      Pool Repairs         $ (1,190.00) $     29,676.05
      04/18/2024       110.00   Misc. Fees                 OUTGOING WIRE                         Bank Fee             $      (14.00) $   29,662.05
      04/18/2024       111.00   Outgoing Money Transfer Glassratner Advisory & Capital Grou      Receiver Fees        $ (6,983.64) $     22,678.41
      04/18/2024       112.00   Misc. Fees                 OUTGOING WIRE                         Bank Fee             $      (14.00) $   22,664.41
      04/23/2024       113.00                              Spectrum
                                Pre-authorized ACH Debit 00000000000                             Cable                $    (149.97) $    22,514.44
      05/02/2024       114.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE        Bank Fee             $      (28.00) $   22,486.44
      05/02/2024       115.00   Misc. Fees                 BB PREMIER WIRE MODULE                Bank Fee             $      (35.00) $   22,451.44




010
      05/15/2024       116.00   Outgoing Money Transfer Major Appraisals, Inc                    Bond Services        $ (1,200.00) $     21,251.44
      05/15/2024       117.00   Misc. Fees                 OUTGOING WIRE                         Bank Fee             $      (14.00) $   21,237.44
                                                                                                                                                                  Page 12 of 32 Page ID




      05/17/2024       118.00   Outgoing Money Transfer LA Aquatic Services                      Pool Repairs         $    (320.00) $    20,917.44

                                                                                   3 of 5
      Odin Group
      Bank Activity
      East West Bank


                                                                                                                               Running
         Date       Index              Check #                                  Party             Purpose       Amount         Balance
      05/17/2024       119.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $   20,903.44
      05/21/2024       120.00                              Spectrum
                                Pre-authorized ACH Debit 00000000000                          Cable           $   (149.97) $   20,753.47
         6/4/2024      121.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE     Bank Fee        $    (28.00) $   20,725.47
         6/4/2024      122.00   Misc. Fees                 BB PREMIER WIRE MODULE             Bank Fee        $    (35.00) $   20,690.47
      06/10/2024       123.00   Outgoing Money Transfer Lipsey Appraisal Service              Utilities       $ (2,000.00) $   18,690.47
      06/10/2024       124.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $   18,676.47
      06/10/2024       125.00   Check Paid 3326            Antonio Orellana                   Gardner         $   (900.00) $   17,776.47
      06/12/2024       126.00                              LADWP
                                Pre-authorized ACH Debit 00000000000                          Utilities       $ (3,141.59) $   14,634.88
      06/18/2024       127.00                              PALOMARINSURANCE PURCHASE 240617
                                Pre-authorized ACH Debit 00000000000                          Insurance       $ (1,231.50) $   13,403.38
                                                                                                                                                        Case 2:21-cv-09306-MWC-SK




      06/21/2024       128.00                              Spectrum
                                Pre-authorized ACH Debit 00000000000                          Cable           $   (149.97) $   13,253.41
      06/27/2024       129.00                              So Cal Gas
                                Pre-authorized ACH Debit 00000000000                          Utilities       $   (181.21) $   13,072.20
      07/02/2024       130.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE     Bank Fee        $    (28.00) $   13,044.20
      07/02/2024       131.00   Misc. Fees                 BB PREMIER WIRE MODULE             Bank Fee        $    (35.00) $   13,009.20
      07/03/2024       132.00                              PALOMARINSURANCE PURCHASE 240702
                                Pre-authorized ACH Debit 00000000000                          Insurance       $   (726.00) $   12,283.20
      07/05/2024       133.00                              Bamboo Insurance
                                Pre-authorized ACH Debit 00000000000                          Insurance       $ (1,105.25) $   11,177.95
      07/05/2024       134.00   Outgoing Money Transfer Glassratner Advisory & Capital Grou   Receiver Fees   $ (2,114.50) $    9,063.45
      07/05/2024       135.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $    9,049.45
      07/15/2024       136.00   Outgoing Money Transfer LA Aquatic Services                   Pool Repairs    $   (560.00) $    8,489.45
                                                                                                                                                  #:1809




      07/15/2024       137.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $    8,475.45
      07/17/2024       138.00                              California FAIR debitpmt 240716
                                Pre-authorized ACH Debit 00000000000                          Insurance       $ (2,665.50) $    5,809.95
      07/17/2024       139.00   Outgoing Money Transfer LA Aquatic Services                   Pool Repairs    $   (560.00) $    5,249.95
      07/17/2024       140.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $    5,235.95
      07/17/2024       141.00   Outgoing Money Transfer GWB Enterprises                        Maintenance    $ (1,000.00) $    4,235.95
      07/17/2024       142.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $    4,221.95
      07/23/2024       143.00                              Spectrum
                                Pre-authorized ACH Debit 00000000000                          Cable           $   (149.97) $    4,071.98
                                                                                                                                           Document 108 Filed 11/27/24




      08/02/2024       144.00                              PALOMARINSURANCE PURCHASE 240801
                                Pre-authorized ACH Debit 00000000000                          Insurance       $ (1,807.50) $    2,264.48
      08/02/2024       145.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE     Bank Fee        $    (28.00) $    2,236.48
      08/02/2024       146.00   Misc. Fees                 BB PREMIER WIRE MODULE             Bank Fee        $    (35.00) $    2,201.48
      08/21/2024       147.00                              Spectrum
                                Pre-authorized ACH Debit 00000000000                          Cable           $   (151.22) $    2,050.26
      08/30/2024       148.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $    2,036.26
      09/04/2024       149.00   Incoming Money Transfer Loan From Bill Reid                   Loan            $ 24,000.00 $    26,036.26
      09/04/2024       150.00   Misc. Fees                 WIRE TRANS-IN                      Bank Fee        $    (10.00) $   26,026.26
      09/05/2024       151.00                              Bamboo Insurance
                                Pre-authorized ACH Debit 00000000000                          Insurance       $   (421.51) $   25,604.75
      09/05/2024       152.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE     Bank Fee        $    (28.00) $   25,576.75
      09/05/2024       153.00   Misc. Fees                 BB PREMIER WIRE MODULE             Bank Fee        $    (35.00) $   25,541.75
      09/17/2024       154.00                              LADWP
                                Pre-authorized ACH Debit 00000000000                          Utilities       $ (3,345.74) $   22,196.01




011
      09/23/2024       155.00                              Spectrum
                                Pre-authorized ACH Debit 00000000000                          Cable           $   (151.22) $   22,044.79
      10/01/2024       156.00   Outgoing Money Transfer LA Aquatic                            Pool Repairs    $ (4,342.00) $   17,702.79
                                                                                                                                                        Page 13 of 32 Page ID




      10/01/2024       157.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $    (14.00) $   17,688.79

                                                                              4 of 5
      Odin Group
      Bank Activity
      East West Bank


                                                                                                                                 Running
         Date      Index                Check #                                   Party           Purpose         Amount         Balance
      10/02/2024       158.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE     Bank Fee        $      (28.00) $   17,660.79
      10/02/2024       159.00   Misc. Fees                 BB PREMIER WIRE MODULE             Bank Fee        $      (35.00) $   17,625.79
      10/04/2024       160.00                              Bamboo Insurance
                                Pre-authorized ACH Debit 00000000000                          Insurance       $     (421.51) $   17,204.28
      10/22/2024       161.00                              Spectrum
                                Pre-authorized ACH Debit 00000000000                          Cable           $     (191.22) $   17,013.06
      11/04/2024       162.00   Misc. Fees                 BB PREMIER MONTHLY MAINTENANCE     Bank Fee        $      (28.00) $   16,985.06
      11/04/2024       163.00   Misc. Fees                 BB PREMIER WIRE MODULE             Bank Fee        $      (35.00) $   16,950.06
      11/06/2024       164.00                              Bamboo Insurance
                                Pre-authorized ACH Debit 00000000000                          Insurance       $     (421.51) $   16,528.55
      11/08/2024       165.00   Outgoing Money Transfer Glassratner Advisory & Capital Grou   Receiver Fees   $   (3,816.00) $   12,712.55
      11/08/2024       166.00   Misc. Fees                 OUTGOING WIRE                      Bank Fee        $      (14.00) $   12,698.55
                                                                                                                                                          Case 2:21-cv-09306-MWC-SK
                                                                                                                                                    #:1810
                                                                                                                                             Document 108 Filed 11/27/24




012
                                                                                                                                                          Page 14 of 32 Page ID




                                                                                 5 of 5
Case 2:21-cv-09306-MWC-SK   Document 108 Filed 11/27/24   Page 15 of 32 Page ID
                                   #:1811




                            EXHIBIT B


                                                                         013
                                                          Odin Group
                                                       Invoice Summary


                                                                Professional
      Index   Invoice #    Date     Period Start   Period End       Fees       Expenses       Total        Payment        Balance
                           7/5/2024                                                       $        ‐   $     (2,114.50) $     575.00
               65575      7/31/2024   6/1/2024       6/30/2024 $      870.00              $     870.00                  $   1,445.00
               65787      8/22/2024   7/1/2024       7/31/2024 $    2,371.00              $   2,371.00                  $   3,816.00
               66104      9/20/2024   8/1/2024       8/31/2024 $    4,985.00              $   4,985.00                  $   8,801.00
                                                                                                                                                    Case 2:21-cv-09306-MWC-SK
                                                                                                                                              #:1812
                                                                                                                                       Document 108 Filed 11/27/24




014
                                                                                                                                                    Page 16 of 32 Page ID
      Case 2:21-cv-09306-MWC-SK                           Document 108 Filed 11/27/24                          Page 17 of 32 Page ID
                                                                 #:1813



                                    Formerly known as GlassRatner Advisory & Capital Group LLC

July 31, 2024                                                                                                        Invoice # : 65575

JONATHAN JORDAN
KING & SPALDING
1180 PEACHTREE ST NE
STE. 1600
ATLANTA GA 30309

In Reference To: Carman Crest Dr, Los Angeles, Receivership

For professional services rendered during the period June 1, 2024                                through      June 30, 2024

                                                         Billing Recap by Professional
Name                                                                                                                              Hours         Rate
Jonathan Wernick                                                                                                                   2.00       435.00


                                                                                                                         Hours              Amount
                 Total Professional Service Fees                                                                           2.00             $870.00

                 Previous balance                                                                                                         $2,689.50


   7/5/2024 Payment - Thank You                                                                                                           ($2,114.50)

                 Total payments and adjustments                                                                                           ($2,114.50)


                 Balance due                                                                                                              $1,445.00




                  Thank you for working with B. Riley Advisory, we don't take our clients for granted.
For our wiring instructions, please contact B. Riley Advisory directly using the contact information below.       Tax ID Number: XX-XXXXXXX
         Payments can be made payable to GlassRatner Advisory & Capital Group, LLC and sent to the address below
                                                                                                                     015
          3445 Peachtree Rd., NE, Suite 1225 | Atlanta, GA 30326 | Tel: 470.346.6800 Fax: 470.346.6804 | www.brileyfin.com
                                                                                 7/31/2024
Carman Crest
    Case     Dr, Los Angeles, Receivership Document 108
          2:21-cv-09306-MWC-SK                            Filed 11/27/24         Invoice
                                                                           Page 18  of 32# : Page
                                                                                             65575 ID
                                                                                 Page        2
                                                 #:1814
              Professional Services Detail

                                                                                                    Hours

  6/30/2024 J. Wernick   Consulting                                                                     2.00




GlassRatner Advisory & Capital Group LLC

                                                                                             016
      Case 2:21-cv-09306-MWC-SK                           Document 108 Filed 11/27/24                          Page 19 of 32 Page ID
                                                                 #:1815



                                    Formerly known as GlassRatner Advisory & Capital Group LLC

August 22, 2024                                                                                                       Invoice # : 65787

JONATHAN JORDAN
KING & SPALDING
1180 PEACHTREE ST NE
STE. 1600
ATLANTA GA 30309

In Reference To: Carman Crest Dr, Los Angeles, Receivership

For professional services rendered during the period July 1, 2024                                through      July 31, 2024

                                                         Billing Recap by Professional
Name                                                                                                                                 Hours       Rate
Mike Issa                                                                                                                             1.40     575.00
Jonathan Wernick                                                                                                                      3.60     435.00


                                                                                                                         Hours                 Amount
                 Total Professional Service Fees                                                                              5.00           $2,371.00

                 Previous balance                                                                                                            $1,445.00



                 Balance due                                                                                                                 $3,816.00




                  Thank you for working with B. Riley Advisory, we don't take our clients for granted.
For our wiring instructions, please contact B. Riley Advisory directly using the contact information below.       Tax ID Number: XX-XXXXXXX
         Payments can be made payable to GlassRatner Advisory & Capital Group, LLC and sent to the address below
                                                                                                                     017
          3445 Peachtree Rd., NE, Suite 1225 | Atlanta, GA 30326 | Tel: 470.346.6800 Fax: 470.346.6804 | www.brileyfin.com
                                                                                          8/22/2024
Carman Crest
    Case     Dr, Los Angeles, Receivership Document 108
          2:21-cv-09306-MWC-SK                                 Filed 11/27/24             Invoice
                                                                                    Page 20  of 32# : Page
                                                                                                      65787 ID
                                                                                          Page        2
                                                     #:1816
              Professional Services Detail

                                                                                                                Hours

  7/16/2024 J. Wernick   Preparation of Receivers Quarterly Report                                               0.50
  7/22/2024 J. Wernick   Preparation of Receivers Quarterly Report                                               1.60
  7/24/2024 M. Issa      work on Receiver's status report for the Court                                          1.40
  7/31/2024 J. Wernick   Tasks for July '24 included coordinating with Gene Bush to address getting the          1.50
                         property in shape for sale,
                         monitoring the payment of monthly bills, addressing maintenance issues, and
                         addressing changes in the insurance broker.




GlassRatner Advisory & Capital Group LLC

                                                                                                          018
      Case 2:21-cv-09306-MWC-SK                           Document 108 Filed 11/27/24                          Page 21 of 32 Page ID
                                                                 #:1817



                                    Formerly known as GlassRatner Advisory & Capital Group LLC

September 20, 2024                                                                                                   Invoice # : 66104

JONATHAN JORDAN
KING & SPALDING
1180 PEACHTREE ST NE
STE. 1600
ATLANTA GA 30309

In Reference To: Carman Crest Dr, Los Angeles, Receivership

For professional services rendered during the period August 1, 2024                              through      August 31, 2024

                                                         Billing Recap by Professional
Name                                                                                                                              Hours         Rate
Mike Issa                                                                                                                          6.40       575.00
Jonathan Wernick                                                                                                                   3.00       435.00


                                                                                                                         Hours              Amount
                 Total Professional Service Fees                                                                           9.40           $4,985.00

                 Previous balance                                                                                                         $3,816.00



                 Balance due                                                                                                              $8,801.00




                  Thank you for working with B. Riley Advisory, we don't take our clients for granted.
For our wiring instructions, please contact B. Riley Advisory directly using the contact information below.       Tax ID Number: XX-XXXXXXX
         Payments can be made payable to GlassRatner Advisory & Capital Group, LLC and sent to the address below
                                                                                                                     019
          3445 Peachtree Rd., NE, Suite 1225 | Atlanta, GA 30326 | Tel: 470.346.6800 Fax: 470.346.6804 | www.brileyfin.com
                                                                                           9/20/2024
Carman Crest
    Case     Dr, Los Angeles, Receivership Document 108
          2:21-cv-09306-MWC-SK                                  Filed 11/27/24             Invoice
                                                                                     Page 22  of 32# : Page
                                                                                                       66104 ID
                                                                                           Page        2
                                                     #:1818
              Professional Services Detail

                                                                                                                 Hours

   8/8/2024 J. Wernick   Preparation of monthly update and a projection of expenses for the next 4                1.50
                         months in conjunction to preparing a loan request from the lender.
  8/21/2024 M. Issa      meet at CC and tour the comps with Gene and Bill Reid                                    4.20
  8/28/2024 M. Issa      calls/emails re: sale of property/value/offers                                           2.20
  8/31/2024 J. Wernick   Tasks for Aug '24 included coordinating with Gene Bush to address getting the            1.50
                         property in shape for sale, monitoring the payment of monthly bills, addressing
                         maintenance issues, and
                         addressing changes in the insurance broker.




GlassRatner Advisory & Capital Group LLC

                                                                                                           020
Case 2:21-cv-09306-MWC-SK   Document 108 Filed 11/27/24   Page 23 of 32 Page ID
                                   #:1819




                            EXHIBIT C


                                                                         021
Docusign Envelope ID: 81DB942C-9CDB-4781-AB7F-E602661519A3
         Case 2:21-cv-09306-MWC-SK                 Document 108 Filed 11/27/24            Page 24 of 32 Page ID
                                                          #:1820




                                   RECEIVER'S CERTIFICATE OF INDEBTEDNESS

                     1.      This certificate of indebtedness is issued by J. Michael Issa (the "Receiver"), not

            individually, but on behalf of the receivership estate in his capacity as Receiver under Sections 17

            and 18 of that certain Order Appointing Receiver entered in the above-captioned case on March

            31, 2022 (the "Receivership Order").

                     2.      Since there are will be no ongoing proceeds from the Receivership Property until it

            is sold, and since the Receiver has been incurring fees and expenses (and will continue to incur

            fees and expenses) in maintaining and marketing the Property for sale and in performing his duties

            under the Receivership Order, the Receiver has requested that 54 Dyer, LP (“54 Dyer”) extend an

            additional loan of $24,000.00 to the Receiver to cover fees, insurance and expenses through

            October 31, 2024, pursuant to, and under the terms of, Sections 17 and 18 of the Receivership

            Order. This loan is to pay the estimated fees and expenses set forth in the attached Schedule A.

                     3.      This certifies that there is due to 54 Dyer from the Receiver the additional principal

            sum under this Certificate of $24,000.00, together with interest thereon at the rate of 10% per

            annum, payable upon the sale of the Receivership Property as authorized by the Receivership

            Order.

                     4.      As set forth in Section 18 of the Receivership Order, the principal and interest

            evidenced by this Certificate shall be a first and prior lien and security interest upon the

            Receivership Property, including all proceeds therefrom, in favor of 54 Dyer. These funds

            advanced by 54 Dyer and evidenced by the issuance of this Certificate shall be considered an

            advance made under the Loan Documents (as defined in the Receivership Order). The lien of this

            Certificate shall be prior and superior to the interest or lien of all judgment holders, mechanics’

            lien claimants, partners, members, shareholders, and creditors of the Receivership Property.

                                                               1

                                                                                                             022
Docusign Envelope ID: 81DB942C-9CDB-4781-AB7F-E602661519A3
         Case 2:21-cv-09306-MWC-SK                 Document 108 Filed 11/27/24          Page 25 of 32 Page ID
                                                          #:1821



                     5.      This Certificate may be prepaid in whole or in part at any time without penalty.

            Notwithstanding an earlier maturity date, if the indebtedness evidenced hereby has not been paid

            in full before or pursuant to final distribution of the Receivership's Assets, this Certificate shall

            continue to be a first priority lien on all assets, real and personal, of the Receivership Property

            distributed in the final distribution of the Receiver's assets, and the indebtedness evidenced hereby

            shall be payable from any proceeds generated (a) upon the sale or refinance of the Receivership

            Property, from the proceeds thereof, or (b) upon collection of rental or other income from the

            Receivership Property, from the monies collected thereby, until such indebtedness is paid in.

                     6.      All payments hereunder shall be applied first to the payment of any accrued and

            unpaid interest, fees, and costs, and then to the payment of principal. Payment due hereunder shall

            be made at such place as the holder shall direct and upon payment in full, the holder hereof shall

            surrender this Certificate to the person making such payment, marking the same "paid in full," and

            shall deliver to the person making such payment an instrument in recordable form executed by the

            obligee hereof, such obligee's successor in interest or such obligee's assign (in which case written

            assignment hereof in recordable form shall also be delivered), releasing the lien of this Certificate

            on all assets encumbered hereby.

                     7.      It is intended that the aforesaid lien of this Certificate shall be automatically

            perfected by the entry of the Receivership Order; provided, however, that notwithstanding the

            automatic perfection of the lien evidenced by this Certificate, the Receiver shall execute, in

            recordable form, such additional instruments as 54 Dyer reasonably requests in order to evidence

            and further perfect such lien.

                     8.       This Certificate is issued under the authority of, and in accordance with, the

            Receivership Order.



                                                             2

                                                                                                           023
Docusign Envelope ID: 81DB942C-9CDB-4781-AB7F-E602661519A3
         Case 2:21-cv-09306-MWC-SK                 Document 108 Filed 11/27/24            Page 26 of 32 Page ID
                                                          #:1822



                     9.      This Certificate is and shall be an obligation of the Receiver and his successor(s) as

            Receiver. Notwithstanding the foregoing, 54 Dyer understands and agrees that the Receiver or his

            Successor(s) shall have no personal liability with respect to the indebtedness evidenced by this

            certificate and that recourse to the payments due hereunder is limited to the assets of the

            Receivership estate.

                     10.     This certificate shall not be obligatory for any purpose until signed by the Receiver.

                     11.     54 Dyer’s loan set forth in this Certificate is contingent upon the signature of the

            Receiver on this Certificate.



            Dated:     11/26/2024


                                                             _____________________________________
                                                             J. Michael Issa
                                                             Receiver

                      11/21/2024
            Dated:

                                                             _____________________________________
                                                             William P. Reid, authorized signatory on behalf of
                                                             54 Dyer, LP




                                                               3

                                                                                                             024
Docusign Envelope ID: 81DB942C-9CDB-4781-AB7F-E602661519A3




        Carman Crest
        Estimated Costs
        Three Months Ending 10/31/24



        Service                                              8/31/2024      9/30/2024     10/31/2024      Total
        Gardner 2 months                                      $    (900.00) $        -     $     (900.00) $ (1,800.00)
        Utilities - Water and Power                              (3,141.59)                    (3,141.59)     (6,283.18)
        Cable                                                      (149.97)      (149.97)                       (299.94)
        Utilities- Gas                                             (181.21)      (181.21)        (181.21)       (543.63)
        Home insurance - Bamboo                                    (843.02)      (843.02)        (843.02)     (2,529.06)
                                                                                                                                        Case 2:21-cv-09306-MWC-SK




        Receiver Fees                                            (1,445.00)    (2,500.00)      (2,500.00)     (6,445.00)
        Pool Maintenance                                           (560.00)      (560.00)        (560.00)     (1,680.00)
        Home insurance - CA Fair Plan                            (2,000.00)          -         (2,000.00)     (4,000.00)
        Cable                                                      (149.97)      (149.97)        (149.97)       (449.91)
        Contingency                                             (1,000.00)     (1,000.00)     (1,000.00)      (3,000.00)

                                                             $   (9,370.76) $ (4,384.17) $ (10,275.79) $ (24,030.72)
                                                                                                                                  #:1823
                                                                                                                           Document 108 Filed 11/27/24




025
                                                                                                                                        Page 27 of 32 Page ID




                                                                           Schedule A
Case 2:21-cv-09306-MWC-SK   Document 108 Filed 11/27/24   Page 28 of 32 Page ID
                                   #:1824




                            EXHIBIT D


                                                                         026
Case 2:21-cv-09306-MWC-SK         Document 108 Filed 11/27/24             Page 29 of 32 Page ID
                                         #:1825



    REPORT TO J. MICHAEL ISSA, AS RECEIVER FOR 2538 CARMAN CREST DRIVE
    (“PROPERTY”), NOVEMBER 11, 2024

    RECENT MARKETING EFFORTS
    The 2538 Carman Crest property (“Property”) continues to be actively marketed. Recent
    marketing efforts include:

    Property was prominently featured on Netflix hit show “Selling Sunset” including full
    property tour of house, view and grounds.
    Dozens of individual showings for brokers and potential buyers.
    Sunday open houses held most weekend except holiday weekends.
    Extensive promotion of property through social media.
    Direct promotion to large network of realtors and brokers in and out of Los Angeles.
    Twp page prominent advertisement in broker CARAVAN magazine.
    Continued to post the listing to hundreds of Coldwell Banker Realty partner websites.
    Continued to promote the listing to network of fellow REALTORS® during weekly sales
    meetings.
    Property prominently posted on ColdwellBankerHomes.com and ColdwellBanker.com.
    Distributed glossy property brochure including during property tours and open houses.
    Property specific website well-positioned on partner websites.
    Specially created 30-second YouTube Advertisement, which received an estimated 3,800
    views from a targeted audience of potential home buyers, which remains on Coldwell
    Banker’s YouTube channel.
    Created video of property for Zillow website, enhancing position on Zillow search engine.
    Purchase price was reduced to $4,600,000, which was promoted widely through
    personal contacts, Coldwell Banker email blasts and other efforts.

    TOUR AND RECENT SALE OF COMPARABLE PROPERTIES

    On Wednesday August 24, 2024, J. Michael Issa, the Receiver, Bill Reid, the lender, and
    Gene Bush, the listing agent, toured four homes located near 2538 Carman Crest which
    are direct comparables and like the Property in the Outpost Estates section of the Holly
    wood Hills. The address, property information and days on market (DOM), as of
    November 10, 2024, for each are:

    7038 Los Tilos Road- $4,995,000
    DOM- 116
    5 Beds, 6 Baths, 4618 sq. ft.
    Priced at $1,082 per sq. ft.

    2003 El Cerrito Place- $4,995,000
    DOM-108
    5 Bed, 6 Baths, 4,207 sq. ft.
    Priced at $1,187 per sq. ft.


                                                                                               1
                                                                                               027
Case 2:21-cv-09306-MWC-SK          Document 108 Filed 11/27/24             Page 30 of 32 Page ID
                                          #:1826




    7044 Los Tilos Road- $5,745.000
    DOM- 149
    4 Bed, 4 Baths, 4311 sq. ft.
    Priced at $1,332 per sq. ft.

    1919 Outpost Drive- Sold for $4,302.500
    DOM-18 until escrow opened, since then sale closed
    6 Bed, 5 Baths, 5,000 sq. ft.
    Sold at $865 per sq. ft.

    The only one of these four properties which sold since the August 24, 2024 visit is the last
    one on the list, which is the only one priced under $1,000 a square foot. The other three
    homes remain on the market, which reflects that homes in Outpost Estates recently
    priced at or above $1,000 a square foot are lingering on the market, with some exceptions
    if the property has some extraordinary features.

    STATUS OF SALE EFFORTS

    As indicated in the prior report, Outpost Estate is a residential neighborhood of
    single-family homes, most built in the last quarter of the 20th century. Home styles
    and sizes vary. The Property is approximately 3,785 square feet, according to city
    records. It has 3 bedrooms, 4 bathrooms and is on 3 floors. It was built in 2020 and
    is in good condition. It is fully furnished with very modern furniture and art, largely in
    a black and white motif. The outdoor space has multiple tiers including a small pool
    and appealing views.

    It is unusual in Outpost Estates and the Hollywood Hills generally for a home of this
    size to have only three bedrooms.

    On a macro level, home mortgage rates continue to rise, despite the fed having cut
    interest rates. See New York Times “If the Fed Is Cutting Rates, Why are Mortgage
    Rates Rising,“ November 7, 2024. At the same time, the number of homes for sale in
    the Los Angeles area as a whole and in particular in the Hollywood Hills is growing,
    giving buyers more choices and leverage.

    Looking specifically at the current comp report for the Property, the average sale
    price in the area is $3,820,000 and the property is priced at $4,600,000. The average
    price per square foot of the comparable sales is $1,041, and the Property is priced
    at $1215 per sq. ft. The home no longer is considered a new build, now that it is four
    years old. For many home buyers, such as those with young children, the multi-level
    structure of the home is not appealing. Most people looking for homes priced in this
    range seek more than 3 bedrooms.


                                                                                               2
                                                                                               028
Case 2:21-cv-09306-MWC-SK        Document 108 Filed 11/27/24          Page 31 of 32 Page ID
                                        #:1827




    All of these factors considered together are the reasons the Property has not yet
    sold. Still, now that the election is complete and stock markets are rising, we expect
    increased interest and focus on homebuying.




                                                                                        3
                                                                                         029
Case 2:21-cv-09306-MWC-SK       Document 108 Filed 11/27/24         Page 32 of 32 Page ID
                                       #:1828



   1                            DECLARATION OF SERVICE
   2                I, Lewis R. Landau, the undersigned, do declare:
   3         1.     I am a citizen of the United States, over the age of eighteen (18) years
   4   and not a party to the within action. My business address is 22287 Mulholland
   5   Hwy., # 318, Calabasas, CA 91302.
   6         2.     On the 27th day of November, 2024, I served the following documents:
   7   QUARTERLY REPORT OF RECEIVER AND DECLARATION OF J.
   8   MICHAEL ISSA IN SUPPORT THEREOF; EXHIBITS IN SUPPORT on the
   9   interested parties in this matter in the following manner:
  10         3.     Service by NEF. I declare that I caused a notice of electronic filing to
  11   be served by the Court’s Electronic Case Filing system, to the following
  12   individual(s) at their ECF registered email address:
  13   Steven Alan Fink     sfink@stevefinklaw.com
  14   Lewis Raymond Landau        lew@landaunet.com
  15
             4.     Service by Email. I declare that I emailed a copy of the foregoing
  16
       document to: J. Michael Issa at missa@brileyfin.com.
  17
             I declare under penalty of perjury under the laws of the United States of
  18
       America that the foregoing is true and correct.
  19
             EXECUTED THIS 27TH DAY OF NOVEMBER, 2024, AT LOS ANGELES,
  20
       CALIFORNIA.
  21

  22
                                              s/ Lewis R. Landau
  23                                          Lewis R. Landau
  24                                          Lew@Landaunet.com

  25

  26

  27

  28


                                             -1-
